                     Case 1:19-cv-01562-VSB Document 4 Filed 02/19/19 Page 1 of 2
IH-32                                                                                                              Rev: 2014-1




                                           United States District Court	

                                                       for the	

                                          Southern District of New York	

                                                        Related Case Statement	

                                                                                        !
                                                        Full Caption of Later Filed Case:

FULTON COUNTY EMPLOYEES’ RETIREMENT
SYSTEM, Derivatively on Behalf of THE
GOLDMAN SACHS GROUP, INC.,



                                     Plaintiff                                                       Case Number



                                         vs.

!!
LLOYD BLANKFEIN, DAVID M. SOLOMON, M. MICHELE BURNS, DREW G. FAUST, MARK A. FLAHERTY,
WILLIAM W. GEORGE, JAMES A. JOHNSON, ELLEN J. KULLMAN, LAKSHMI N. MITTAL, ADEBAYO O.
OGUNLESI, PETER OPPENHEIMER, JAN E. TIGHE, DAVID A. VINIAR, and MARK O. WINKELMAN,

and

THE GOLDMAN SACHS GROUP, INC.,

Nominal Defendant.




                                   Defendant

                                                      Full Caption of Earlier Filed Case:
                                 (including in bankruptcy appeals the relevant adversary proceeding)

!!
DANIEL PLAUT, Individually and on Behalf
of All Others Similarly Situated,



                                     Plaintiff                                                       Case Number

                                                                                        1:18-cv-12084-VSB
                                         vs.

!!
THE GOLDMAN SACHS GROUP,
INC., LLOYD C. BLANKFEIN,
HARVEY M. SCHWARTZ, and R.
MARTIN CHAVEZ,

                                   Defendant
!

                                                                                   Page !1
            Case 1:19-cv-01562-VSB Document 4 Filed 02/19/19 Page 2 of 2
IH-32                                                                                         Rev: 2014-1



Status of Earlier Filed Case:
                          (If so, set forth the procedure which resulted in closure, e.g., voluntary
        ____ Closed       dismissal, settlement, court decision. Also, state whether there is an appeal
                          pending.)
        ✔
     ____ Open            (If so, set forth procedural status and summarize any court rulings.)

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!
The Plaintiff filed an initial complaint on December 20, 2018. Defendants have not answered or moved to
dismiss.
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!
Explain in detail the reasons for your position that the newly filed case is related to the
earlier filed case.
!
!
Both cases allege violations of the federal securities laws arising under 15 U.S.C. §78j(b);17
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C.F.R. §240.10b-5 against the same or similar defendants and involve similar facts. Thus,
!
the actions are related.
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!
!          /s/ Steven B. Singer                                                  02/19/2019
Signature: ________________________________________                      Date: __________________!
!
!          Saxena White P.A.
Firm:         ________________________________________


                                                 Page !2
